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Attorney for Defendant


                          UNITED STATES DISTRICT COURT
                                DISTRICT OF IDAHO

UNITED STATES OF AMERICA,                       Case No. 22-cr-00056-DCN

                                     Plaintiff, MOTION TO CONTINUE TRIAL

vs.

JOSEPH ALAN HOADLEY,

                                   Defendant.

       Joseph Alan Hoadley, through his attorney, Charles F. Peterson, hereby moves this

honorable Court to continue the trial of this case, which is currently scheduled for

September 19, 2022.

       The government produced an additional 335,000 Bates stamped documents today.

The documents have not been reviewed by a filter team for the government, which would

review for Garrity and privilege issues. We do not have enough time at this late date to

review and analyze the material for potentially favorable evidence for Mr. Hoadley.

Although he would prefer to go to trial as scheduled, without the chance to perform any

meaningful review, Mr. Hoadley’s right to the effective assistance of counsel would

arguably be denied. The files produced include documents, emails, text messages and data




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relating to two of the government’s identified witnesses, and a third person who is a subject

of the investigation of CPD.

       This motion is not brought to unreasonably delay the trial. The interests of justice

are not served by proceeding in view of the late production.

       Defendant respectfully requests the Court continue the matter and set the trial to a

date convenient to the Court and counsel.

       Dated this 13th day of September 2022.


                                              //s//
                                              Charles F. Peterson
                                              Attorney for Defendant


                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 13th day of September 2022, the foregoing
document was electronically filed with the Clerk of the Court using the CM/ECF
system, and that a copy was served on the following parties or counsel by email:

Rafael M. Gonzalez, Jr.
Acting United States Attorney
Katherine L. Horwitz
Assistant United States Attorney
Kate.horwitz@usdoj.gov


                                              //s//
                                              Charles F. Peterson




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